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1 |] MATTHEW M. LAVIN (pro hac vice)
matt.lavin@agg.com

2 || AARON R. MODIANO (pro hac vice)
aaron.modiano@agg.com

ARNALL GOLDEN GREGORY LLP
4 || 1775 Pennsylvania Ave. NW, Suite 1000
Washington, DC 20006

5 || Telephone: 202.677.4030

Facsimile: 202.677.4031

DAVID M. LILIENSTEIN, SBN 218923
david@dllawgroup.com

KATIE J. SPIELMAN, SBN 252209
katie@dllawgroup.com

DL LAW GROUP

9 || 345 Franklin St.

San Francisco, CA 94102

10 || Telephone: (415) 678-5050

Facsimile: (415) 358-8484

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3 UNITED STATES DISTRICT COURT
14 NORTHERN DISTRICT OF CALIFORNIA
1s SAN JOSE DIVISION
: 16 RJ, et al. Case No. 5:20-cv-02255
17 Plaintiffs, Hon. Edward J. Davila

18 v. DECLARATION OF THOMAS P.
RALSTON

19 Cigna Health and Life Insurance Company, et

al.

Defendants.

Case No. 5:20-cv-02255 DECLARATION OF THOMAS P. RALSTON

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DECLARATION OF THOMAS P. RALSTON
I, Thomas P. Ralston, declare under penalty of perjury, that the following is true and
correct based on my own personal knowledge, except as to the matters stated on information and
belief, as to such matters, I believe them to be true:

1. Until my retirement on January 1, 2019, I was the Assistant Vice President of
Data Analytics and Product Development for MultiPlan, Inc (“MultiPlan”) in the out-of-
network division.

2. I was employed in senior positions at MultiPlan and an acquired entity, National
Care Network, Inc. (“NCN”), for more than 18 years. I have more than 20 years’ experience as
an executive in cost-containment and healthcare reimbursement.

3. I left Multiplan on good terms. In fact, in late 2018, a senior Multiplan executive,
Michael McEttrick, asked me to work for them as a paid consultant if something came up. I
declined the offer.

4. As a part of my regular duties at MultiPlan, I was in charge of maintaining and
enhancing the Viant pricing product. In this role 1 managed all pricing for Viant. The Viant
pricing product, or Viant OPR, is the same program sometimes referred to by Cigna Health and
Life Insurance Company (“Cigna”) as Bill Negotiation Services or Cost Containment
(collectively, “Viant’).

5. It is my understanding that multiple witnesses for MultiPlan and Cigna in this
action have identified me in their testimony as an individual with knowledge of Viant and the
pricing of H0015 claims.

6. In June 2022, I began receiving email, voicemail and text message
communications from Multiplan’s lawyers in this case, and from current MultiPlan employees,
asking me to contact them, stating that I was the person with the most knowledge of Viant
pricing of H0015 claims and that they were unable to explain the pricing of those claims
without me. I also received a certified letter from Multiplan’s lawyers dated October 20, 2022
offering to represent me for free and indicating that Plaintiff's counsel was going to issue me a

subpoena. I did not respond to these communications. Exhibit A is a collection of the

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communications I received, including the October 20, 2022 letter.

1 Upon receiving the certified letter from Multiplan’s lawyer, | called Plaintiff's
counsel and learned that they did not intend to subpoena me. Plaintiffs counsel had, in fact,
requested a year before that | come forward and I told them 1 was not interested in doing so.
They respected my decision. It was not until I received the October 20, 2022 letter from
Multiplan’s counsel that I became willing to prepare a rebuttal declaration in the LD v. UBH
matter at Plaintiff's request.

8. Shortly after preparing my declaration in the LD case, I] was subpoenaed by the
defendants in this case. I appeared for a deposition on December 15" and 16", 2022 in this
matter. It was the first and only time I have ever been deposed.

9. At all times relevant, I was the individual at Multiplan in charge of the automated
process for pricing H0015 claims using Viant.

10. H0015 is a facility procedure billing code for “[a]lcohol and/or drug services;
intensive outpatient (treatment program that operates at least 3 hours/day and at least 3
days/week and is based on an individualized treatment plan), including assessment, counseling;
crisis intervention, and activity therapies or education.” (see https://hcpces.codes/h-
codes/H0015/)

11. During my long tenure at MultiPlan, and throughout the entirety of my career in
healthcare reimbursement, the terms Usual, Customary & Reasonable (“UCR”), Reasonable &
Customary (“R&C”) and Usual and Customary (“U&C” or “UNC”) were used regularly. These
terms are interchangeable, and all have precisely the same meaning in healthcare reimbursement
which would include the use of such terms by MultiPlan and its customers (such as Cigna).
These terms have never been ambiguous. These terms all refer to the same, simple
concept/methodology whereby out-of-network healthcare providers are reimbursed by payers
based on data of charges from similar providers providing similar services in the same
geographic area as the provider submitting the claim.

12. Based on my experience, I also have familiarity with Medicare-based fee schedule

pricing, a type of reference-based pricing. Typically, the process involves pricing claims at a

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percentage multiple of a Medicare-payable value (such as 400%) for a certain procedure code.
In order for Medicare-based pricing to be successful, there must be a Medicare-payable code for
which fee schedule data is available from the Center for Medicare and Medicaid Services

(“CMS”) to use as a reference. H0015, however, was not a Medicare-payable code.

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40. Regardless of plan language, all claims are processed precisely the same way by
MultiPlan. To my knowledge, Viant cost containment services do not consider plan language

and plan language is never sent to MultiPlan or considered by MultiPlan.

43.  Allclaims in this lawsuit have been priced similarly by Viant, using the

methodologies described in this declaration. It would be simple to re-process or re-calculate
every single claim at issue in a few hours. Some of the methodologies that could be employed
include but are not limited to:

a. Paying the billed charge or a reasonable percent of the billed charge;

b. Multiplying the Viant rate by a factor such as 400% or other appropriate multiple;

c. Finding an alternative database that contains sufficient appropriate data for HO015

(such as FairHealth or a similar database);

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16, 2023 at Collier County in the State of Florida.

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d. Calculating a reasonable percentile of charge data from actual charge data already in
the possession of Multiplan and/or Cigna (e.g., 80" percentile is a typically accepted
rate when applied to actual data of like claims).

I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct and that this declaration was executed on January

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Dated: January 16, 2023 oye xy Mh

Thomas P. Ralston

Case No. 5:20-cv-02255

Declaration of Thomas P. Ralston

